        Case: 15-3799   Document: 14   Filed: 08/14/2015   Page: 1




    Nos. 15-3751, 15-3799, 15-3822, 15-3823, 15-3831, 15-3850,
                      15-3853, and 15-3858
                _______________________________

         IN THE UNITED STATES COURT OF APPEALS
                   FOR THE SIXTH CIRCUIT
                _______________________________

    IN RE: ENVIRONMENTAL PROTECTION AGENCY AND
DEPARTMENT OF DEFENSE, FINAL RULE: CLEAN WATER RULE:
DEFINITION OF “WATERS OF THE UNITED STATES,” 80 Fed. Reg.
        37,054, Published on June 29, 2015 (MCP No. 135)
                 _______________________________

  On Petitions for Review of a Final Rule of the U.S. Environmental
      Protection Agency and the U.S. Army Corps of Engineers
                   _______________________________

   MOTION OF WATERKEEPER ALLIANCE, CENTER FOR
  BIOLOGICAL DIVERSITY, CENTER FOR FOOD SAFETY,
    HUMBOLDT BAYKEEPER, RUSSIAN RIVERKEEPER,
MONTEREY COASTKEEPER, SNAKE RIVER WATERKEEPER,
INC., UPPER MISSOURI WATERKEEPER, INC., AND TURTLE
  ISLAND RESTORATION NETWORK, INC. FOR LEAVE TO
             INTERVENE AS RESPONDENTS
              _______________________________


                                James N. Saul, Esq.
                                EARTHRISE LAW CENTER
                                Lewis & Clark Law School
                                10015 SW Terwilliger Blvd.
                                Portland, OR 97219
                                Ph: (503) 768-6929
                                Fax: (503) 768-6642
                                jsaul@lclark.edu

                                Counsel for Proposed Intervenors
          Case: 15-3799   Document: 14   Filed: 08/14/2015   Page: 2




    MOTION FOR LEAVE TO INTERVENE AS RESPONDENTS

     Pursuant to Federal Rules of Appellate Procedure (“FRAP”) 15(d)

and 27(a), Waterkeeper Alliance, the Center for Biological Diversity, the

Center for Food Safety, Humboldt Baykeeper, Monterey Coastkeeper,

Russian Riverkeeper, Snake River Waterkeeper, Upper Missouri

Waterkeeper, and Turtle Island Restoration Network (collectively,

“Proposed Intervenors”) respectfully request leave to intervene as

respondents in the consolidated petitions for review filed by various

States and industry groups. The consolidated petitions challenge a

regulation promulgated by the Environmental Protection Agency and

the U.S. Army Corps of Engineers (collectively, the “Agencies”), which

purports to define the term “waters of the United States” under the

Clean Water Act. See 80 Fed. Reg. 37,054 (June 29, 2015) (hereinafter

“Final Rule”).

     Although Proposed Intervenors have themselves petitioned for

review of the Final Rule,1 Proposed Intervenors believe that some



1Proposed Intervenors are the petitioners in Waterkeeper Alliance, et al.
v. Environmental Protection Agency, et al., No. 15-3837, which is among
those cases consolidated in this Court under the caption IN RE:
ENVIRONMENTAL PROTECTION AGENCY AND DEPARTMENT
OF DEFENSE, FINAL RULE: CLEAN WATER RULE: DEFINITION

                                     2
          Case: 15-3799     Document: 14   Filed: 08/14/2015   Page: 3




aspects of the Rule are both beneficial to their interests and legally

defensible. Proposed Intervenors therefore seek to defend these aspects

of the Final Rule by intervening in support of the Agencies in certain of

the consolidated cases.

     Specifically, Proposed Intervenors seek leave to intervene as

respondents in the following eight cases:

     No. 15-3751:         Murray Energy Corp. v. U.S. Environmental
                          Protection Agency, et al.

     No. 15-3799:         Ohio, et al. v. U.S. Environmental Protection
                          Agency, et al.

     No. 15-3822:         Oklahoma v. U.S. Environmental Protection
                          Agency, et al.

     No. 15-3823:         Chamber of Commerce of the United States of
                          America, et al. v. U.S. Environmental Protection
                          Agency, et al.

     No. 15-3831:         North Dakota, et al. v. U.S. Environmental
                          Protection Agency, et al.

     No. 15-3850:         American Farm Bureau Federation, et al. v. U.S.
                          Environmental Protection Agency, et al.

     No. 15-3853:         Texas, et al. v. U.S. Environmental Protection
                          Agency, et al.



OF “WATERS OF THE UNITED STATES,” 80 Fed. Reg. 37,054,
Published on June 29, 2015 (MCP No. 135).


                                       3
          Case: 15-3799     Document: 14   Filed: 08/14/2015   Page: 4




     No. 15-3858:         Utility Water Act Group. v. U.S. Environmental
                          Protection Agency, et al.


     Because Proposed Intervenors have a substantial interest in these

consolidated cases and, as discussed below, because they satisfy the

requirements for both intervention as of right and permissive

intervention, the motion to intervene should be granted.


 STATEMENT OF INTERESTS OF PROPOSED INTERVENORS

     Proposed Intervenors are non-profit environmental organizations

that have a deep and long-standing interest in protecting the waters of

the United States from pollution and other forms of degradation or

destruction. Proposed Intervenors’ members use and enjoy many waters

of the United States, including waters that will be left unprotected

under the Clean Water Act if the State and industry petitioners prevail

in their various challenges to the Final Rule. These members use

innumerable streams, wetlands and other unique aquatic ecosystems

for a broad range of aesthetic, recreational, and other purposes, and

their interests—and the interests of Proposed Intervenors themselves—

will be adversely affected by the challenges to the Final Rule brought by

State and industry petitioners.


                                       4
          Case: 15-3799   Document: 14   Filed: 08/14/2015   Page: 5




     Proposed intervenor Waterkeeper Alliance, Inc. (“Waterkeeper”) is

a global movement uniting more than 225 Waterkeeper Organizations

around the world and focusing citizen advocacy on the issues that affect

our waterways, from pollution to climate change. Waterkeeper is a

steadfast and powerful voice for swimmable, fishable, and drinkable

waters in 136 watersheds across the nation. The Clean Water Act is the

bedrock of Waterkeeper’s work to protect rivers, streams, lakes,

wetlands, bays, and channels for the benefit of their communities. In

many ways, Waterkeeper and its thousands of members nationwide

depend on the Clean Water Act to protect waterways, and the people

who depend on clean water for drinking water, recreation, fishing,

economic growth, food production, and all of the other water uses that

sustain our way of life, health, and well being.

     Proposed intervenor Center for Biological Diversity (the “Center”)

is a national nonprofit organization dedicated to the preservation,

protection, and restoration of biodiversity, native species, and

ecosystems. The Center was founded in 1989 and is based in Tucson,

Arizona, with offices throughout the country. The Center works through

science, law, and policy to secure a future for all species, great or small,



                                     5
          Case: 15-3799   Document: 14   Filed: 08/14/2015   Page: 6




hovering on the brink of extinction. The Center is actively involved in

species and habitat protection issues and has more than 50,000

members throughout the United States and the world. The Center has

advocated for species protection and recovery, as well as habitat

protection, for species existing throughout the United States, including

water-dependent species.

     Proposed intervenor Center for Food Safety (“CFS”) is a national

non-profit public interest and environmental advocacy organization

working to protect human health and the environment by curbing the

use of harmful food production technologies and by promoting organic

and other forms of sustainable agriculture. CFS uses legal actions,

groundbreaking scientific and policy reports, books, and other

educational materials, market pressure, and grass roots campaigns.

CFS has over 700,000 members throughout the United States.

     Proposed intervenor Humboldt Baykeeper is a California non-

profit public interest and environmental advocacy organization

committed to safeguarding the coastal resources of Humboldt Bay,

California, for the health, enjoyment, and economic strength of the

Humboldt Bay community. Humboldt Baykeeper uses community



                                     6
          Case: 15-3799   Document: 14   Filed: 08/14/2015   Page: 7




education, scientific research, water-quality monitoring, pollution

control, and enforcement of laws to protect and enhance Humboldt Bay

and near-shore waters of the Pacific Ocean.

     Proposed intervenor Russian Riverkeeper is a California non-

profit public interest and environmental advocacy organization

committed to the conservation and protection of the Russian River, its

tributaries, and the broader watershed through education, citizen

action, scientific research, and expert advocacy. Russian Riverkeeper

has hundreds of members who live or recreate within the Russian River

watershed and who use and enjoy its waters.

     Proposed Intervenor Monterey Coastkeeper is a California non-

profit public interest and environmental advocacy organization

committed to the protection and restoration of the central California

coast. Monterey Coastkeeper has hundreds of members who use and

enjoy the coastal waters of Central California and the streams, rivers,

and wetlands that feed them.

     Proposed Intervenor Snake River Waterkeeper, Inc. is an Idaho

non-profit public interest and environmental advocacy organization

committed to protecting water quality and fish habitat in the Snake



                                     7
          Case: 15-3799   Document: 14   Filed: 08/14/2015   Page: 8




River and surrounding watershed. Snake River Waterkeeper uses

water-quality monitoring, investigation of citizen concerns, and

advocacy for enforcement of environmental laws. Snake River

Waterkeeper has hundreds of members who live, explore, or recreate in

the Snake River watershed.

     Proposed Intervenor Upper Missouri Waterkeeper, Inc. is a

Montana non-profit public interest and environmental advocacy

organization committed to protecting and improving ecological and

community health throughout Montana’s Upper Missouri River Basin.

Upper Missouri Waterkeeper uses a combination of strong science,

community action, and legal expertise to defend the Upper Missouri

River, its tributaries, and communities against threats to clean water

and healthy rivers. Upper Missouri Waterkeeper has hundreds of

members to use and enjoy the Upper Missouri River and its tributaries

for recreation and other purposes.

     Proposed Intervenor Turtle Island Restoration Network, Inc. is a

national non-profit public interest and environmental advocacy

organization committed to the protection of the world’s oceans and

marine wildlife. Turtle Island Restoration Network works with people



                                     8
            Case: 15-3799   Document: 14   Filed: 08/14/2015   Page: 9




and communities to accomplish its mission, using grassroots

empowerment, consumer action, strategic litigation, hands-on

restoration, and environmental education. Turtle Island Restoration

Network has hundreds of members nationwide who use the nation’s

surface waters and wetlands for aesthetic, recreational, or other

purposes.

     Though Proposed Intervenors have petitioned for review of the

Final Rule, they also support some aspects of the Final Rule and seek

an opportunity to defend those portions that will protect water quality

and advance the interests of their members. In complaints filed in

district courts across the country, various the industry groups and

States have indicated they seek to have the Final Rule vacated in its

entirety.2 Among other things, industry and state petitioners have

claimed the Final Rule violates the Commerce Clause, Due Process


2 There remains a significant dispute over whether jurisdiction to
review the Final Rule lies with the federal courts of appeals under the
Clean Water Act’s judicial review provision, 33 U.S.C. § 1369(b), or with
the district courts. Thus, a majority of petitioners in these consolidated
cases have also filed complaints in various district courts. The United
States has now moved to consolidate these district court cases and
transfer them to the District of Columbia. See In re: Clean Water Rule:
Definition of “Waters of the United States”, J.P.M.L. Case MDL No. 2663
(filed July 27, 2015).

                                       9
          Case: 15-3799   Document: 14    Filed: 08/14/2015   Page: 10




Clause, and Tenth Amendment of the United States Constitution.

Proposed Intervenors have a significant interest in responding to these

arguments and supporting beneficial aspects of the Final Rule. For

these reasons, Proposed Intervenors respectfully move this Court to

allow them to intervene in this case as respondents.


                  GROUNDS FOR INTERVENTION

     Although Federal Rule of Appellate Procedure 15(d) does not set

forth specific criteria for intervention, the Supreme Court has held that

the criteria and policies underlying Federal Rule of Civil Procedure 24

provide guidance. Int’l Union, UAW, Local 283 v. Scofield, 382 U.S. 205,

217 n.10 (1965); see also Sierra Club, Inc. v. EPA, 358 F.3d 516, 517–18

(7th Cir. 2004) (“Rule 15(d) does not provide standards for intervention,

so appellate courts have turned to the rules governing intervention in

the district courts under Fed. R. Civ. P. 24.”). In general, “Rule 24

should be ‘broadly construed in favor of potential intervenors.’” Stupak-

Thrall v. Glickman, 226 F.3d 467, 472 (6th Cir. 2000) (quoting Purnell

v. Akron, 925 F.2d 941, 950 (6th Cir. 1991).

     Rule 24 provides for intervention as of right, as well as permissive

intervention. Rule 24(a) (intervention of right) provides that “[o]n


                                     10
         Case: 15-3799   Document: 14    Filed: 08/14/2015   Page: 11




timely motion, the court must permit anyone to intervene who: . . .

claims an interest relating to the property or transaction that is the

subject of the action, and is so situated that disposing of the action may

as a practical matter impair or impede the movant’s ability to protect

its interest, unless existing parties adequately represent that interest.”

This Court has interpreted Rule 24(a) to establish four elements that

must be satisfied before intervention as of right will be granted:

     (1) timeliness of the application to intervene, (2) the applicant’s
     substantial legal interest in the case, (3) impairment of the
     applicant’s ability to protect that interest in the absence of
     intervention, and (4) inadequate representation of that interest by
     parties already before the court.

Michigan State AFL-CIO v. Miller, 103 F.3d 1240, 1245 (6th Cir. 1997).

     Rule 24(b) (permissive intervention) establishes an even lower

threshold, allowing for intervention when the applicant “has a claim or

defense that shares with the main action a common question of law or

fact.” This requires the intervenor to “establish that the motion for

intervention is timely and alleges at least one common question of law

or fact.” United States v. Michigan, 424 F.3d 438, 445 (6th Cir. 2005). If

these two requirements are satisfied, the Court “must then balance

undue delay and prejudice to the original parties, if any, and any other



                                    11
          Case: 15-3799   Document: 14    Filed: 08/14/2015   Page: 12




relevant factors to determine whether, in the court’s discretion,

intervention should be allowed.” Id.

     Here, Proposed Intervenors are entitled to intervention as of right.

Alternatively, this Court should exercise its discretion to allow

Intervenors to intervene permissively.

I.   Proposed Intervenors Satisfy the Elements for
     Intervention as of Right.

     Proposed Intervenors easily satisfy the four requirements for

intervention as of right. First, the motion to intervene is timely for all

cases in which Proposed Intervenors seek intervention except for No.

15-3751.3 Under Rule 15(d), a motion for intervention must be filed

within thirty days of the petition for review. The petitions for review

consolidated in these proceedings were filed between July 13 and July

23, 2015. This motion is filed within thirty days of each original petition

for review (except for No. 15-3751), and is thus timely.




3 In the accompanying Motion for Extension of Time, Proposed
Intervenors move the Court for a one-day extension to file their
intervention motion with respect to No. 15-3751. The intervention
motion is timely with respect to the seven other cases in which
Proposed Intervenors seek to intervene, and no extension of time is
needed for them.

                                     12
          Case: 15-3799   Document: 14    Filed: 08/14/2015   Page: 13




     Second, Proposed Intervenors have a “substantial legal interest in

the case.” Michigan State AFL-CIO, 103 F.3d at 1245. “This Circuit has

opted for a rather expansive notion of the interest sufficient to invoke

intervention of right,” id. and “has acknowledged that ‘interest’ is to be

construed liberally.” Bradley v. Milliken, 828 F.2d 1186, 1192 (6th Cir.

1987). Here, Proposed Intervenors are environmental non-profit

organizations that have worked for many years to prevent water

pollution and protect water quality in the waters of the United States. A

substantial number of Proposed Intervenors’ members use and enjoy

these waters, including unique aquatic ecosystems whose health and

water quality will be adversely affected by the challenges to the Final

Rule brought by various industry and State petitioners in this

litigation. Though Proposed Intervenors have already petitioned for

review of the Final Rule in a case currently consolidated before this

Court (a fact that, alone, demonstrates Proposed Intervenors’

substantial interest in this case), Proposed Intervenors also seek to

protect their ability to defend certain beneficial aspects of the Final

Rule against challenges brought by other petitioners.




                                     13
          Case: 15-3799   Document: 14    Filed: 08/14/2015   Page: 14




     Third, Proposed Intervenors’ interests will be impaired absent the

ability to protect their interests by defending aspects of the Final Rule.

“To satisfy this element of the intervention test, a would-be intervenor

must only show that impairment of its substantial legal interest is

possible if intervention is denied.” Michigan State AFL-CIO, 103 F.3d at

1247. “This burden is minimal.” Id. As noted above, Proposed

Intervenors intend to defend some aspects of the Final Rule against

challenges brought by various industry and State petitioners, including

claims that the Rule should be vacated in its entirety. Unless provided

an opportunity to respond to these challenges in this Court, Intervenors

will be deprived of an opportunity to protect their interests in

preserving certain positive aspects of the Final Rule. Moreover,

Proposed Intervenors interests in the beneficial aspects of the Final

Rule will be impaired if, for example, the Agencies settle the claims

brought by the State and industry petitioners in a manner that results

in vacatur or non-enforcement of those beneficial provisions in the Final

Rule, or if the Agencies focus their defensive litigation efforts on

challenges to parts of the Final Rule other than the provisions that

Proposed Intervenors most wish to defend.



                                     14
         Case: 15-3799   Document: 14    Filed: 08/14/2015   Page: 15




     Finally, Proposed Intervenors’ interests are not adequately

represented by Respondents. The burden of showing inadequate

representation is “minimal,” and “it may be enough to show that the

existing party who purports to seek the same outcome will not make all

of the prospective intervenor’s arguments.” Id. If one group of citizens

sues the government challenging the validity of regulations, citizens

who benefit from those regulations may intervene when the government

is a party since the citizen group will be asserting their own interest

and not the interest of the general public. See 6 Moore’s Federal Practice

§ 24.03[4][a][iv][A] (Matthew Bender 3d ed.).

     Here, it is not only possible, but likely, that Respondents will not

make all of Proposed Intervenors’ arguments in support of the Final

Rule. Indeed, the fact that Proposed Intervenors seek to preserve some

aspects of the Final Rule while challenging others, whereas

Respondents must defend the Rule in its entirety, demonstrates that

Respondents cannot possibly adequately represent Proposed

Intervenors’ interests—especially in a case as complex as this. For

example, in public comments found in the rulemaking record, the State

of Texas (petitioner in No. 15-3853) has indicated that it may challenge



                                    15
          Case: 15-3799   Document: 14    Filed: 08/14/2015   Page: 16




parts of the rule that affect farmed wetlands, while Murray Energy

Company (petitioner in No. 15-3751) takes issue with portions of the

rule that affect headwaters streams.4 Given the myriad challenges to

the Final Rule and the legal complexities presented in the consolidated

cases, there is no guarantee that the Agencies will devote any attention

to these important portions of the Final Rule, much less mount a

vigorous defense of them.

      In sum, Proposed Intervenors’ will be unable to adequately protect

their interests unless they are allowed to intervene as a Respondent in

this case. Accordingly, this Court should grant Intervenors’ motion to

intervene as of right.

II.   Alternatively, Proposed Intervenors Should Be Granted
      Permissive Intervention.

      Even if this Court determines that Proposed Intervenors are not

entitled to intervene as of right, this Court should exercise its discretion

to allow Proposed Intervenors to intervene permissively. Rule 24(b)


4See Comments from Todd Staples, Commissioner, Texas Department
of Agriculture (Nov. 7, 2014); Comments from Gary M. Broadbent,
Assistant General Counsel, Murray Energy Corporation (Nov. 13, 2014),
both of which were submitted to the Agencies’ rulemaking docket
(Docket No. EPA-HQ-OW-2011-0880) and are available at
http://www.regulations.gov/#!docketDetail;D=EPA-HQ-OW-2011-0880.

                                     16
          Case: 15-3799   Document: 14    Filed: 08/14/2015   Page: 17




provides that “the court may permit anyone to intervene who . . . has a

claim or defense that shares with the main action a common question of

law or fact.” As discussed above, Proposed Intervenors intend to defend

certain aspects of the Final Rule against challenges brought by State or

industry representatives. For example, some Petitioners have filed

complaints in district courts across the country challenging the Final

Rule under the Commerce Clause, Due Process Clause, and Tenth

Amendment. Intervenors believe the Final Rule is well within the scope

of EPA’s constitutional authority and, thus, intend to assert a defense

that “shares with the main action a common question of law or fact.”

Fed. R. Civ. Proc. 24(b)(1)(B).

     Further, other considerations support allowing permissive

intervention in this case. Because Proposed Intervenors’ motion is

timely, allowing intervention will not cause undue delay. See Bradley,

828 F.2d at 1193–94. Nor will Proposed Intervenors’ participation as a

respondent in this case cause prejudice to the original parties—nor

could it, since Proposed Intervenors are themselves original parties in

one of the consolidated petitions, which will be heard together. Rather,

Proposed Intervenors merely seek to protect their interests and the



                                     17
           Case: 15-3799   Document: 14    Filed: 08/14/2015   Page: 18




interests of their members by defending certain aspects of the Final

Rule.

        In sum, even if this Court determines that Proposed Intervenors

are not entitled to intervention as of right, permissive intervention

should be granted in this case.



                              CONCLUSION

        For the reasons stated above, the Court should grant Proposed

Intervenors’ motion to intervene.


        Respectfully submitted this 14th day of August, 2015.



                                    s/ James N. Saul

                                    James N. Saul, Esq.
                                    EARTHRISE LAW CENTER
                                    Lewis & Clark Law School
                                    10015 SW Terwilliger Blvd.
                                    Portland, OR 97219
                                    Ph: (503) 768-6929
                                    Fax: (503) 768-6642
                                    jsaul@lclark.edu


                                    Counsel for Waterkeeper Alliance, Inc.,
                                    Center for Biological Diversity, Center
                                    for Food Safety, Humboldt Baykeeper,


                                      18
Case: 15-3799   Document: 14    Filed: 08/14/2015   Page: 19




                         Russian Riverkeeper, Monterey
                         Coastkeeper, Snake River Waterkeeper,
                         Inc., Upper Missouri Waterkeeper, Inc.,
                         and Turtle Island Restoration
                         Network, Inc.




                           19
         Case: 15-3799   Document: 14    Filed: 08/14/2015   Page: 20




                         CERTIFICATE OF SERVICE

     I certify that that all counsel representing the parties in this case

are registered CM/ECF users, and that on August 14, 2015, I

electronically filed and caused the foregoing Motion to Intervene to be

served on registered counsel through the Court’s CM/ECF system.




                                  s/ James N. Saul

                                  James N. Saul, Esq.
                                  EARTHRISE LAW CENTER
                                  Lewis & Clark Law School
                                  10015 SW Terwilliger Blvd.
                                  Portland, OR 97219
                                  Ph: (503) 768-6929
                                  Fax: (503) 768-6642
                                  jsaul@lclark.edu




                                    20
